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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS FILED: DECEMBER 16, 2008
                                 EASTERN DIVISION
                                                         08CV7174
TRACY KING, CHANCE MICKIEL,                )             JUDGE ST.EVE
JACKLIN MICKIEL, ROBERT MICKIEL,           )             MAGISTRATE JUDGE NOLAN
STEVEN MICKIEL, NICHOLAS MICKIEL,          )             RCC
STACY M. MICKIEL                           )
                     Plaintiffs,           )         Case No.:
                                           )
v.                                         )
                                           )         COMPLAINT FOR
UNKNOWN AND UNNAMED                        )         VIOLATION OF CIVIL
CHICAGO POLICE OFFICERS,                   )         RIGHTS AND STATE
individually and THE CITY OF               )         SUPPLEMENTAL CLAIM
CHICAGO,                                   )
                                           )
                                           )
                     Defendants.           )
                                           )         JURY DEMANDED



                                 JURISDICTION AND VENUE

       1. This action arises under the United States Constitution and the Civil Rights Act of

1871 [42 U.S.C. Section 1983]. This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343, 1331, 1367.

       2. Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.



                                           PARTIES

       3. At all times herein mentioned, Plaintiff TRACYKI
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                                                                       NG”
                                                                         ),

was and is now a citizen of the United States.

       4. At all times herein mentioned, Plaintiff CHANCE MI
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                                                                       r“C.

MI
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     ),was and is now a citizen of the United States.

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         5. At all times herein mentioned, Plaintiff J
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                                                           CKI
                                                             EL(
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                                                                      r“J
                                                                        .

MI
 CKI
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     ),was and is now a citizen of the United States.

         6. At all times herein mentioned, Plaintiff ROBERTMI
                                                            CKI
                                                              EL(
                                                                her
                                                                  eina
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                                                                       r“R.

MI
 CKI
   EL”
     ),was and is now a citizen of the United States.

         7. At all times herein mentioned, Plaintiff STEVENMI
                                                            CKI
                                                              EL(
                                                                “S.MI
                                                                    CKI
                                                                      EL”
                                                                        ),was

and is now a citizen of the United States.

         8. At all times herein mentioned, Plaintiff NI
                                                      CHOLASMI
                                                             CKI
                                                               EL(
                                                                 “N.MI
                                                                     CKI
                                                                       EL”
                                                                         ),

was and is now a citizen of the United States.

         9. At all times herein mentioned, Plaintiff STACY M. MI
                                                               CKI
                                                                 EL(
                                                                   her
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                                                                          r“S.M.

MI
 CKI
   EL”
     ), was and is now a citizen of the United States, and a minor born on July 19, 1994,

and her mother and legal guardian, TRACY KING is suing on her behalf.

         10. At all times herein mentioned, an UNKNOWN NUMBER OF UNNAMED

CHICAGO POLI
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employed by the City of Chicago Police Department and were acting under color of state law and

as the employees, agents, or representatives of the City of Chicago Police Department. These

officers are being sued in their individual/personal capacity. Plaintiffs will seek leave to amend

their complaint upon learning the identity of these defendants for the purpose of alleging their

names.

         11. At all times herein mentioned, the City of Chicago was a political division of the

State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times, the

City of Chicago maintained, managed, and/or operated the City of Chicago Police Department.



                                   FACTUAL ALLEGATIONS



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         12. On or about September 24, 2008, at approximately 9:40pm, Unknown Defendant

police officers illegally broke into and raided the house at 6501 S. Vernon in Chicago, Illinois

60637.

         13. On that date, the premises at 6501 S. Vernon in Chicago, IL 60637 was owned by

Plaintiff T. King, who lived there with Plaintiffs C. Mickiel, J. Mickiel, R. Mickiel, N. Mickiel,

S. Mickiel, and S. M. Mickiel and other individuals.

         14. Unknown Defendant police officers did not present a search warrant for the house at

6501 S. Vernon, Chicago, IL 60637.

         15. Unknown Defendant police officers did not knock on the doors, nor did they allow a

reasonable amount of time for the occupants to respond, before breaking in, entering, or

attempting to enter the house at 6501 S. Vernon, Chicago, IL 60637.

         16. Despite the fact that Plaintiffs made no attempt to leave and did nothing to resist or

interfere with the actions of the police, Unknown Defendant police officers pulled their guns and

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                                                      sonly four-months old. T.

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                                                        . All Plaintiffs were

seized, and Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, N. Mickiel, J. Mickiel, and S. M.

Mickiel were handcuffed.

         17. Unknown Defendants searched and tore up the house, leaving the house in total

disarray, all without legal cause or justification.

         18. Plaintiffs were detained and held under arrest during the wrongful search.

         19. There was no legal cause to seize and arrest Plaintiffs.



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       20. Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, N. Mickiel, and S. M. Mickiel, who was

only fourteen years old at the time, were subjected to unnecessary and unreasonable force.

       21. Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, N. Mickiel, and S. M. Mickiel in no way

consented to this conduct.

       22. Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel and N. Mickiel were driven to the police

station where they were imprisoned. No criminal charges were filed against these Plaintiffs.

       23. Plaintiffs T. King, J. Mickiel, and S. M. Mickiel were transported outside their

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       24. By reason of the above-described acts and omissions of Defendants, Plaintiffs

sustained injuries including, but not limited to, humiliation and indignities, medical expenses,

suffered great physical, mental, and emotional pain and suffering all to him damage in an amount

to be ascertained.

       25. The aforementioned acts of the Defendants were willful, wanton, malicious,

oppressive and done with reckless indifference t
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and justify the awarding of exemplary and punitive damages in an amount to be ascertained

according to proof at the time of trial.

       26. By reason of the above-described acts and omissions of the Defendants, Plaintiff was

required to retain an attorney to institute, prosecute, and render legal assistance to him in the

within action so that he might vindicate the loss and impairment of his rights. By reason thereof,

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fees pursuant to 42 U.S.C Section 1988, the Equal Access to Justice Act or any other provision

set by law.



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                                                COUNT I

 All Plaintiffs Against All Individual Defendants for Illegal Search Without Warrant and
                                  Without Probable Cause

       27. Plaintiffs incorporate and re-allege paragraphs one (1) through twenty-six (26)

hereat as though fully alleged at this place.

       28. Plaintiffs did not consent to the search of their residence at 6501 S. Vernon in

Chicago, Illinois 60637, nor did anyone else with authority to do so.

       29. The Individual Defendants had no search warrant, no probable cause, no legal cause,

and no legal authority to enter and search the home of Plaintiffs.

       30. By the conduct of the Individual Defendants, Plaintiff were deprived of rights,

privileges, and immunities secured to them by the Fourth and Fourteenth Amendments to the

United States Constitution and laws enacted thereunder. Therefore, Individual Defendants are

liable to Plaintiffs pursuant to 42 U.S.C. § 1983.

                                                COUNT II

            All Plaintiffs Against Individual Defendants for Unreasonable Search

       31. Plaintiffs incorporate and re-allege paragraphs one (1) through twenty-six (26) hereat

as though fully alleged at this place.

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immunities secured to them by the Fourth and Fourteenth Amendments of the Constitution of the

United States and laws enacted thereunder.

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search of the residence of the plaintiffs without a search warrant describing pl
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as the premises to be searched was unnecessary, without legal cause, unreasonable and

excessive; and (2) causing excessive and unnecessary property damage to the residence of

plaintiffs. These acts were in violation of the plaintiffs’Four
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the defendants, and each of them, in their individual capacity are liable to plaintiffs pursuant to

42 U.S.C. § 1983.


                                            COUNT III

               All Plaintiffs Against All Individual Defendants for Illegal Entry

       34. Plaintiff hereby incorporates and re-alleges paragraphs one (1) through twenty-six

(26) hereat as though fully alleged at this place.

       35. The Individual Defendants did not knock on the doors, nor did they allow a

reasonable amount of time for the occupants to respond, before entering or attempting to enter

6501 S. Vernon in Chicago, Illinois.

       36. By the conduct of the Individual Defendants, Plaintiffs were deprived of rights,

privileges, and immunities secured to them by the Fourth and Fourteenth Amendments to the

United States Constitution and laws enacted thereunder. Therefore, Individual Defendants and

each of them, is liable to all Plaintiffs pursuant to 42 U.S.C. § 1983.

                                            COUNT VI

 T. KING, J. MICKIEL, and S.M. MICKIEL Against All Individual Defendants for False
                                    Arrest

       37. Plaintiff hereby incorporates and re-alleges paragraphs one (1) through twenty-six

(26) hereat as though fully alleged at this place.

       38. The detention and arrest of T. King, J. Mickiel, and S.M. Mickiel at 6501 S. Vernon ,




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Chicago, IL 60637 caused by the Individual Defendants was without probable cause and was

unreasonable.

       39. By reason of the conduct of the Individual Defendants, Plaintiffs were deprived of

rights, privileges, and immunities secured to them by the Fourth Amendment to the Constitution

of the United States and laws enacted thereunder. Therefore, Individual Defendants are liable for

arrest under 42 U.S.C. § 1983.

                                             COUNT V

    Plaintiffs C. MICKIEL, R. MICKIEL, S. MICKIEL, and N. MICKIEL Against All
                        Individual Defendants for False Arrest

       40. Plaintiff hereby incorporates and re-alleges paragraphs one (1) through twenty-six

(26) hereat as though fully alleged at this place.

       41. The arrest and incarceration of Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, and N.

Mickiel was without probable cause and unreasonable.

       42. By reason of the conduct of the Individual Defendants, Plaintiffs were deprived of

rights, privileges, and immunities secured to them by the Fourth Amendment of the Constitution

of the United States and laws enacted thereunder. Therefore, the Individual Defendants are

liable for arrest under 42 U.S.C. § 1983.



                                            COUNT VI

 Plaintiffs C. MICKIEL, R. MICKIEL, S. MICKIEL, N. MICKIEL, and S.M. MICKIEL
                   Against Individual Defendants for Excessive Force

       43. Plaintiff hereby incorporates and re-alleges paragraphs one (1) through twenty-six

(26) hereat as though fully alleged at this place.




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       28. The force used by the Individual Defendants was excessive, unnecessary,

unreasonable, and without legal cause.

       29. By reason of the Individual De
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privileges and immunities secured to them by the Fourth Amendment to the Constitution of the

United States and laws enacted thereunder. Therefore the Individual Defendants are liable to

Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, N. Mickiel, and S.M. Mickiel pursuant to 42 U.S.C.

§ 1983.

                                            COUNT VII

                       Plaintiffs Against All Defendants For The State
                   Supplemental Claims of Assault, Battery and Intentional
                                Infliction of Emotional Distress

       30.     Plaintiff hereby incorporates and re-alleges paragraphs one (1) through twenty-six

(26) hereat as though fully alleged at this place.

       31.     The Unknown Defendants caused Plaintiffs to be assaulted, battered and

subjected to the intentional infliction of emotional distress as alleged above.

       32.     The City of Chicago is liable as a result of respondeat superior.

       33.     Therefore, all the Unknown Defendants and the City of Chicago are liable under

the state supplemental claims as stated above.



WHEREFORE, Plaintiffs Tracy King, Chance Mickiel, Jacklin Mickiel, Robert Mickiel, Steven

Mickiel, Nicholas Mickiel, and Stacy Mickiel, by and through their attorneys, Ed Fox &

Associates, requests judgment as follows against the Defendants, and each of them on all claims:

       1. That Defendants be required to pay Plaintiffs general damages, including emotional

distress, in a sum to be ascertained;



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          2. That Defendants be required to pay Plaintiffs special damages;

          3. That Defendants, except the City of Chicago, be required to pay Plaintiffs ‘

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to Justice Act or any other applicable provision;

          4. That Defendants, except the City of Chicago, be required to pay Plaintiffs

punitive and exemplary damages in a sum to be ascertained;

          5. That Defendants be required to be pay Plaintiffs costs of the suit herein incurred; and

          6. That Plaintiffs has such other and further relief as this Court may deem just and

proper.

                                                                      Respectfully Submitted,



DATED: December 16, 2008

                                                                      s/Rayne Galbraith______
                                                                      Rayne Galbraith
ED FOX & ASSOCIATES
Attorneys for Plaintiffs
300 W. Adams
Suite 330
Chicago, IL 60606
(312) 345-8877

                 PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY


                                                        BY:    s/Rayne Galbraith___
                                                                 Rayne Galbraith




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